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                                                   57876
         NEW YORK                                                                                                SHANGHAI
          LONDON                                                                                                  ATLANTA
         SINGAPORE                                                                                               BALTIMORE
       PHILADELPHIA                                  FIRM and AFFILIATE OFFICES                                 WILMINGTON
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    WASHINGTON, DC                                                                                              BOCA RATON
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                                                   SETH A. GOLDBERG
       SILICON VALLEY                                                                                             NEWARK
                                               DIRECT DIAL: +1 215 979 1175
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        LOS ANGELES                         E-MAIL: SAGoldberg@duanemorris.com                                  CHERRY HILL
          TAIWAN                                                                                                LAKE TAHOE
          BOSTON                                      www.duanemorris.com                                        MYANMAR
         HOUSTON                                                                                                    OMAN
          AUSTIN                                                                                          A GCC REPRESENTATIVE OFFICE
                                                                                                               OF DUANE MORRIS
           HANOI
    HO CHI MINH CITY
                                                                                                            ALLIANCES IN MEXICO
                                                                                                               AND SRI LANKA




  February 25, 2022


  VIA ECF


  The Honorable Thomas Vanaskie                                   The Honorable Robert B. Kugler
  Special Discovery Master                                        United States District Court Judge
  Stevens & Lee                                                   District of New Jersey
  1500 Market Street, East Tower                                  Mitchell H. Cohen Building & U.S. Courthouse
  18th Floor                                                      4th & Cooper Streets, Room 1050
  Philadelphia, PA 19102                                          Camden, NJ 08101


              Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                        Case No. 1:19-md-02875-RBK-KW

  Dear Judges Kugler and Vanaskie:

              This letter is to provide Defendants’ positions with respect to the topics on the agenda for

  the conference with the Court on February 28, 2022. Defendants do not anticipate that discussion

  of the topics listed in the agenda will concern confidential and/or restricted confidential

  information.

  1.          Dismissal of CVS from the Medical Monitoring Master Complaint.

              As other Pharmacy Defendants have done, CVS requests dismissal from the Medical

  Monitoring Master Complaint (“MMMC”), as no remaining putative class representative alleges

  that he or she filled valsartan from CVS and is pursuing a claim against it. Therefore, CVS requests

  D UANE M ORRIS LLP
  30 SOUTH 17TH STREET PHILADELPHIA, PA 19103-4196                                   PHONE: +1 215 979 1000 FAX: +1 215 979 1020
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  Plaintiffs be ordered to show cause why CVS should not be dismissed from the MMMC. Counsel

  sent multiple emails to the Plaintiffs’ Executive Committee requesting CVS be dismissed from the

  MMMC, but Plaintiffs’ counsel has not responded. See Exhibit 1.

         In addressing traceability, Judge Kugler explained that “in order to establish standing in

  the class action context, for each named defendant, at least one named plaintiff must be able to

  allege an injury traceable to that defendant.” MTD Op. 2 (ECF No. 728) at 17. In response to the

  Pharmacy Defendants’ traceability arguments on the Plaintiffs’ Motion for Leave to Amend, Your

  Honor noted that “it appears that there remain untraced” certain pharmacy defendants where no

  named plaintiffs alleged they filled a valsartan prescription at those pharmacies. ECF No. 1614 at

  7. Thus, Your Honor gave Plaintiffs the “opportunity to show cause why the claims asserted

  [against these untraced defendants] should not be dismissed with prejudice.” Id.; see also ECF

  No. 1615 ¶ 11. Plaintiffs did not respond to the order to show cause with respect to the Pharmacy

  Defendants identified in that round of briefing and did not name those defendants in their

  subsequently filed amended complaints.       Specifically, Plaintiffs did not name Albertson’s,

  Humana, Kroger, OptumRx in the MMMC (ECF No. 1709), and did not name Humana in the

  ELMC (ECF No. 1708). Pharmacy Defendants Rite Aid and Walgreens requested that they be

  dismissed from the MMMC on this same basis in the January 17, 2022 letter to this Court (ECF

  No. 1873), and Plaintiffs agreed, filing dismissals on January 18, 2022 (ECF No. 1880).

         Subsequent to Your Honor’s October 8, 2021 Opinion and Order and the January 18, 2022

  dismissals of Rite Aid and Walgreens, Plaintiffs voluntarily dismissed the claims of Celestine

  Daring and Richard O’Neill. See ECF Nos. 1913-1914. Following these dismissals, there are no

  putative MMMC class representatives with a pending claim against CVS who allegedly filled a

  valsartan prescription from CVS.
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         One Plaintiff, Sylvia Cotton, is identified in the MMMC as a representative of a medical

  monitoring sub-class for the State of Texas. However, Plaintiffs do not assert claims against CVS

  (or any pharmacy defendant) under Texas law in the MMMC. See, e.g., Ex. A to Plaintiffs’

  Medical Monitoring Class Certification Motion, ECF No. 1750-1. This non-assertion of a claim

  against the Pharmacy Defendants under Texas law is consistent with rulings made by the Court,

  including the Court’s dismissal of independent medical monitoring claims under Texas law (as

  well as various other states) and dismissal of breach of implied warranty claims against the

  Pharmacy Defendants under Texas law (as well as various other states). See ECF No. 775 at 4; see

  also ECF No. 776 at 3; ECF No. 838 at 32-33; and ECF No. 839 at 5. Thus, Ms. Cotton does not

  have a pending claim against CVS or any other pharmacy defendant.

         Another Plaintiff, Paulette Silberman, references CVS in the amended complaint (ECF No.

  1709 at ¶ 27), but per Ms. Silberman’s deposition testimony, CVS did not sell or dispense any

  valsartan products to Ms. Silberman. Ms. Silberman testified that she filled valsartan at a pharmacy

  within a QuickChek grocery store and never received valsartan from a CVS store. See Silberman

  Transcript, Exhibit 2, at 132:8-10 (Ms. Silberman confirming she never received any valsartan

  from a CVS store); see also id. at 49:8 (“[I]t was always QuickChek.”).

         Thus, there are no remaining class representatives with medical monitoring claims against

  CVS and thus no traceability for purposes of standing in the MMMC. CVS should be dismissed

  from the MMMC.



  2.     The Marker Group’s Data Breach.

         On February 2, 2022, Greenberg Traurig received a form letter providing notice of a

  security event affecting data stored by the Marker Group (“Marker”), which is the third-party
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  vendor the parties use in this litigation to collect and host plaintiff-specific records. Marker’s letter

  specifically stated that Marker would be providing notice directly to the individuals whose data

  was impacted, as well as to the appropriate regulatory authorities. According to Marker, the event

  impacted 88 plaintiffs in this litigation, as well as a number of plaintiffs in many other litigations.

  The Marker security event is the subject of at least one class action lawsuit filed in January of 2022

  in the Southern District of Texas by Morgan & Morgan, a firm who also serves on the Plaintiff’s

  Personal Injury PSC in this litigation.

          Defendants are working to understand the scope and nature of Marker’s event and obtain

  assurances about tightened security protocols, however, Marker is in the best position to provide

  the information Plaintiffs seek, to describe what happened, and to explain how they are addressing

  it. We have offered to facilitate a call between Marker and Plaintiffs’ counsel, even though

  Plaintiffs also interface directly with Marker, as well as suggested that Plaintiffs’ counsel reach

  out to Marker directly. We have also provided Marker’s letter notice and Marker’s list of valsartan

  plaintiffs whom they believe were impacted, and said we would make ourselves available for a

  call to discuss further. Thus, we do not believe there is any dispute that is ripe for the Court’s

  adjudication, but we will be prepared to discuss further with the Court if needed.

  3.      Rule 702 Daubert Hearing Schedule.

          Per the Court’s instructions, the parties submitted supplemental declarations on February

  24, 2022, in connection with pending Rule 702 motions concerning general-causation experts. The

  disclosures were made simultaneously such that, at the time of submission, neither Plaintiffs nor

  Defendants were aware of which experts, if any, the other side intended to present or the scope of

  any witness’s supplemental disclosure. Defendants nonetheless noted, ECF No. 1929, at 2, their

  concern with respect to the procedure envisioned by the Court whereby the party proffering an
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  expert gets to decide not only which witnesses are to be subjected to cross examination but also

  the topics upon which those witnesses may be examined. Defendants are concerned that the

  process—which does not presently contemplate the presentation of live direct testimony, oral

  argument, or the receipt of evidence beyond the supplemental declarations and limited cross

  examination—may not create an adequate record, given the significance of the issues raised and

  the magnitude of this litigation.

         Upon receipt of Plaintiffs’ disclosure, ECF No. 1928, Defendants continue to harbor those

  concerns. Plaintiffs have produced supplemental declarations from only three of their five experts,

  none of which directly bear on the central issue to be decided—i.e., whether Plaintiffs can prove,

  through expert testimony supported by sound scientific methodology, that reasonably anticipated

  levels of exposure to two particular impurities in valsartan-containing medications is capable of

  causing the thirteen cancers placed at issue, see ECF No. 706. Dr. Panigrahy, for example, offered

  a 250-page general-causation report containing over 500 citations, ECF No. 1716-3, but his

  supplemental certification is limited to six paragraphs discussing the bioavailability of NDMA

  through animal studies, ECF No. 1928-2. Based on prior statements from the Court, Defendants

  understand their cross examination of Plaintiffs’ experts will be limited to the four corners of the

  supplemental declaration. If so, the Court will be deprived of the opportunity to hear live testimony

  from Plaintiffs’ witnesses concerning the vast majority of their opinions and the supposed bases

  thereof.

         Respectfully, therefore, Defendants request the Court to schedule full evidentiary hearings

  in order to resolve the pending Rule 702 motions. Defendants believe that the general-causation

  issue must be considered with the benefit of robust cross-examination on the totality of an expert’s
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  report, the presentation of live direct testimony, the taking of oral argument, and the receipt of

  other evidence bearing on the admissibility of the proffered experts’ opinions.

           Assuming the Court is inclined to proceed with the process it previously outlined,

  Defendants met and conferred with Plaintiffs’ counsel on February 25, 2022, and offered potential

  dates for the Daubert hearings related to Defendants’ two general causation experts who submitted

  declarations, Dr. George Johnson and Dr. Michael Bottorff, ECF No. 1929. Defendants offered

  March 15, 2022, for Dr. Bottorff, subject to clarification on Judge Vanaskie’s emails as to which

  date the Court is available. Dr. Johnson is unavailable on March 2, 3, 14, or 15, but is available on

  March 29, 2022, assuming it can be accommodated by the Court’s schedule. Defendants will

  update the Court on agreed dates for these experts once Plaintiffs respond. Plaintiffs indicated that

  all three of their witnesses would be called on March 2, 2022, and that hearings would continue as

  necessary on March 3, 2022. Plaintiffs declined to offer any information on the order of their

  witnesses. The parties will continue to work to finalize the schedule in advance of next Monday’s

  conference.



  4.       Plaintiffs Fact Sheets/Show Cause Listings


  Cases Addressed at the February 2, 2022 Case Management Conference:

       The Court issued three show cause orders returnable at the February 28, 2022 Case
  Management Conference:

          Shylaine Louissant v. Mylan, et al. - 21-cv-07797
          Charlene Mills v. Actavis, et al. – 21-cv-13611
          Jimmie Thorn v. Mylan, et al., - 20-cv-20603

  The issues in the Louissant matter are resolved, and the show cause order may be withdrawn.
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              The issues in the Mills and Thorn matters remain unresolved, but the parties are working
       towards a resolution and request a one-month extension of these two orders to show cause until
       the March 30, 2022 Case Management Conference.



       Second Listing Cases – Order to Show Cause Requested:

                Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially
       incomplete and contain core deficiencies. Each of these cases were previously listed on the agenda
       for a prior CMC. This list was provided to Plaintiffs’ leadership on February 16, 2022, and a global
       meet and confer was held on February 18, 2022. Defendants have also been available for further
       discussion as needed. Accordingly, Defendants request that an Order to Show Cause be entered in
       each of these cases, returnable at the next case management conference, as to why these cases
       should not be dismissed.

               Defense counsel will be prepared to address the individual issues with respect to each of
       these cases, to the extent necessary, during the February 28, 2022 Case Management Conference:



          Plaintiff         Civil            Law Firm               Deficiencies                      Deficiency
                           Action                                                                     Sent
                            No.
1.     Robert Cook v.      1:21-            Watts Guerra             - IV.E.3 - Failed to provide     11/26/2021
        ZHP, et al.         cv-                                        complete information.
                           17184                                    Naquoia Cook is identified as
                                                                    Plaintiff's daughter but is not
                                                                    listed under children in
                                                                    Section II.B.3

                                                                    -VII.A.1.a       - Plaintiff
                                                                    checked box "No" for ever
                                                                    having been diagnosed with
                                                                    cancer more than once but
                                                                    Plaintiff's claimed injury is
                                                                    Colon Cancer (I.D.3) and
                                                                    medical records and Death
                                                                    Certificate indicate Plaintiff
                                                                    was diagnosed with non-
                                                                    Hodgkin's lymphoma (see
                                                                    X.A.). Please clarify
                                                                    apparent inconsistency.
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2.     Martin Scott v.     1:21;-           Watts Guerra            No insurance or worker’s          11/26/2021
        ZHP, et al.         cv-                                     compensation and/or
                           17216                                    disability authorizations were
                                                                    provided

3.    Tracy Whitfield      1:21-         Oliver Law Group           Failed to respond to              12/2/2021
       v. ZHP, et al.       cv-                                     numerous deficiencies
                           15076                                    identified in Notice – only
                                                                    provided some acceptable
                                                                    authorizations

4.    Curtis McCall v.     21-cv-    Serious Injury Law Group,      No PFS filed                      PFS due –
        Aurobindo          13859                P.C.                                                  11/06/2021
          Pharma
5.     Deborah Harris      20-cv-    Serious Injury Law Group,      No PFS filed                      PFS due –
        v. Aurobindo       19164                P.C.                                                  02/13/2021
           Pharma
6.       Ernestine         1:21-        Douglas and London          No PFS Filed.                     PFS Due -
        Williams v.         cv-                                                                       11/9/2021
          Mylan            06946
      Pharmaceuticals.,
           et al

       First Listing Cases – Remaining Core Deficiencies:

               The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved.
       This list was provided to Plaintiffs leadership on February 16, 2022 and a global meet and confer
       was held on February 18, 2022. Defendants have also been available for further discussion as
       needed. This is the first time these cases have been listed on this agenda. Accordingly, Defendants
       are not requesting orders to show cause with respect to any of the below cases at this time and will
       continue to meet and confer to resolve these deficiencies.


          Plaintiff        Civil             Law Firm               Deficiencies                      Deficiency
                          Action                                                                      Sent
                           No.
1.    James Larsen v.      21-cv-       Newlands and Clark          Need medical expenses,            12/28/2021
       Actavis, et al.     18313                                    missing date range for
                                                                    treatment from Dr. Thomas
                                                                    Ganey, missing dates of
                                                                    hypertension onset.
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2.    Gerald Henning       21-cv-    Levin Papantonio      Need medical expenses.         1/7/2022
       v. ZHP, et al       17989

3.     Estate of Carl      21-cv-    Levin Papantonio      Need medical expenses          1/24/2022
         Willix v.         17992
      Aurobindo, et al
4.    Richard Verrier      21-cv-      Watts Guerra        Missing pharmacy               2/11/2022
       v. Aurobindo        20370                           documentation/NDC codes
       Pharma, Ltd.                                        for entries 2-7. Need
                                                           complete medical expense
                                                           information; need United
                                                           Healthcare dates of service;
                                                           need several missing
                                                           medication history sections
                                                           filled in.

5.        Estate of        21-cv-      Stark & Stark       Need date range for product    2/5/2022
      William Byrnes       13325                           use; no cancer diagnosis
      v. Aurobindo, et                                     information
             al
6.    Elnita Brooks v.     21-cv-    Levin Papantonio      Need medical expenses          2/15/2022
         Aurobindo         18001
        Pharma, Ltd.


7.    Deborah Harris        21 -    Arnold & Itkin, LLP    No authorizations,             01/25/2022
        – Estate of         CV-                            Incomplete PFS, no NDC
      Donald Harris v.     06395                           codes or identification that
        Aurobindo                                          recalled product was
      Pharma, Ltd., et                                     consumed
             al
8.    Estate of Sloan       21-        Watts Guerra        No authorizations for Dr.      02/11/2022
        Mitchell v.         CV-                            Michael Gainey and Dixie
        Aurobindo          20355                           Stone PA-C

                                                           No Medical expenses

9.        Robert           21-cv-   Hollis Law Firm, PA    III.G.c – Failed to provide    1/26/2022
        Anderson v.        18338                           the monetary amount for
       Hetero Drugs,                                       identified claimed medical
         Ltd., et al.                                      expense.
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                                                               XI.B.2 – No Walgreens
                                                               pharmacy records produced.

                                                               XI.B.18 – No billing records
                                                               produced.

                                                               XII – No executed
                                                               declaration produced with
                                                               Amended PFS.



10. Brian Nahmis v.       21-cv-      Levin Papantonio         Need medical billing and tax      1/4/2022
    Zhejiang Huahai       18002                                records; PFS needs to be
    Pharamceutical                                             amended to include answers
     Co., Ltd. et al                                           from response to deficiency
                                                               notice

11.     Claudette         21-cv-     Morgan & Morgan           Failure to list all medications   1/20/2022
        Pelletier v.      17676                                in VI.A.
        Aurobindo
       Pharma Ltd.


12.    Jeffrey S.         21-cv-   Heninger Garrison Davis     Authorizations improperly         1/20/2022
       Williams v.        16345             LLC                dated, failure to respond at
       Aurobindo                                               all to deficiency notice,
        Pharma                                                 failure to list salary, medical
                                                               expenses, healthcare
                                                               providers

13. Kelly Donaldson       21-cv-     Newlands and Clark        Failure to provide dates of       12/29/2021
     v. Aurobindo         18272                                taking Valsartan; failure to
        Pharma                                                 list dates she was treated by
                                                               doctors

14.  The Estate of        21-cv-      Levin Papantonio         PFS needs to be amended to        12/23/2021
    Denise Kadish         16239                                include answers from
      v. Zhejiang                                              response to deficiency notice
        Huahai
    Pharmaceutical
    Co., Ltd. Et al.
15. Norris Booth v.       21-cv-      Hollis Law Firm          Failed to provide signed          1/10/2022
      ZHP, et al.         18336                                Declaration for Amended
                                                               PFS
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16.   Matthew Blain       21-cv-   Fleming, Nolez and Jez     Missing records/documents     1/18/2022
      v. ZHP, et al.      19442                               responsive to Section
                                                              XI.B.20




17.     Michael           21-cv-      Hollis Law Firm         Failed to provide signed      1/18/2022
       Ferguson v.        15425                               declaration for Amended PFS
       ZHP, et al.
18. Anthony Mixon         21-cv-     Levin Papantonio         No PFS Filed.                 1/12/22
                          19958

19.   Eric Thompson       21-cv-     Levin Papantonio         No PFS Filed.                 1/12/22
                          19973

20. John McDermott        21-cv-     Levin Papantonio         No PFS Filed.                 2/9/22
                          20426

21.    Mary Powell        21-cv-     Levin Papantonio         No PFS Filed.                 2/9/22
                          20436

22.      Eileen           21-cv-     Levin Papantonio         No PFS Filed.                 2/10/22
        D’Imperio         20457

23.   Tom Maestas         21-cv-     Levin Papantonio         No PFS Filed.                 2/10/22
                          20458

24.     Chadwick          21-cv-     Morgan & Morgan          No PFS Filed.                 2/21/22
         Wilson           20624

25.      Anthony          21-cv-     Morgan & Morgan          No PFS Filed.                 2/23/22
         Scavone          20692

26.     Thomas            21-cv-       Stark & Stark          No PFS Filed.                 10/31/21
        Donahue           16348
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27.         Roderick      21-cv-           Stark & Stark            No PFS Filed.                10/24/21
            Redmon        14198

28.   William Webb        21-cv-         Levin Papantonio           No PFS Filed.                9/30/21
                          14427




                                                             Respectfully submitted,

                                                             /s/ Seth A. Goldberg

                                                             Seth A. Goldberg


      cc:      Adam Slater, Esq. (via email, for distribution to Plaintiffs’ Counsel)
               Jessica Priselac, Esq. (via email, for distribution to Defendants’ Counsel)
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